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 1    Robert Tauler (SBN 241964)
      rtauler@taulersmith.com
 2    Narain Kumar, Esq. (SBN 301533)
      nkumar@taulersmith.com
 3    TAULER SMITH LLP
      626 Wilshire Boulevard, Suite 550
 4    Los Angeles, California 90017
      Tel: (213) 927-9270
 5

 6    Attorneys for Plaintiff
      Gurmit Deol
 7
                           UNITED STATES DISTRICT COURT
 8
                         CENTRAL DISTRICT OF CALIFORNIA
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10      MILAN HASSID, individually and          Case No.
        on behalf of all others similarly       CLASS ACTION COMPLAINT
11
        situated,                               FOR:
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                      Plaintiff,                  1. VIOLATIONS OF THE
13                                                   CALIFORNIA TRAP AND
               vs.
14                                                   TRACE LAW (CAL. PENAL
        ALEX AND ANI, LLC, a Rhode                   CODE § 638.51)
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        Island corporation; and DOES 1
16      through 25, inclusive,
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                     Defendants.
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 1                                       JURISDICTION
 2          1.      This Court has subject matter jurisdiction over this action pursuant to
 3    the Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d)(2), because the total
 4    matter in controversy exceeds $5,000,000 and there are over 100 members of the
 5    proposed class. Further, at least one member of the proposed class is a citizen of a
 6    State within the United States and at least one defendant is the citizen of a different
 7    State or subject of a foreign state.
 8          2.     This Court has personal jurisdiction over Defendant because, on
 9    information and belief, Defendant has purposefully directed its activities to the
10    Central District of California by regularly engaging with individuals in California
11    through its website. Defendant’s illegal conduct is directed at and harms California
12    residents, including Plaintiff, and if not for Defendant’s contact with the forum,
13    Plaintiff would not have suffered harm.
14          3.     Venue is proper in the Central District of California pursuant to 28
15    U.S.C. § 1391 because Defendant (1) is authorized to conduct business in this
16    District and has intentionally availed itself of the laws and markets within this
17    District; (2) does substantial business within this District; (3) is subject to personal
18    jurisdiction in this District because it has availed itself of the laws and markets within
19    this District; and the injury to Plaintiff occurred within this District.
20                                           PARTIES
21          4.     Plaintiff Milan Hassid (“Plaintiff”) is, and at all times relevant to this
22    complaint has been, a citizen of California residing and located within the Central
23    District of California.
24          5.     Defendant Alex and Ani, LLC (“Defendant” or “Alex and Ani”) is
25    Rhode Island corporation that owns, operates, and/or controls www.alexandani.com
26    (“Website”), an online platform that sells jewelry.
27          6.     The above-named Defendant, along with its affiliates and agents, are
28    collectively referred to as “Defendants.” The true names and capacities of the
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 1    Defendants sued herein as DOE DEFENDANTS 1 through 25, inclusive, are
 2    currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
 3    names. Each of the Defendants designated herein as a DOE is legally responsible for
 4    the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
 5    Complaint to reflect the true names and capacities of the DOE Defendants when
 6    such identities become known.
 7          7.      Plaintiff is informed and believes that at all relevant times, every
 8    Defendant was acting as an agent and/or employee of each of the other Defendants
 9    and was acting within the course and scope of said agency and/or employment with
10    the full knowledge and consent of each of the other Defendants, and that each of the
11    acts and/or omissions complained of herein was ratified by each of the other
12    Defendants.
13                               FACTUAL ALLEGATIONS
14          8.      Alex and Ani LLC is the proprietor of www.alexandanie.com, an online
15    platform that sells jewelry.
16          9.      Defendant installed on its Website software created by TikTok in order
17    to identify website visitors (the “TikTok Software”). Plaintiff visited Defendant’s
18    website on September 16, 2024, after the TikTok Software was installed and within
19    the limitations period established by statute.
20          10.     The TikTok Software acts via a process known as “fingerprinting.” Put
21    simply, the TikTok Software collects as much data as it can about an otherwise
22    anonymous visitor to the Website, such as Plaintiff Milan Hassid, and matches it
23    with existing data TikTok has acquired and accumulated about hundreds of millions
24    of Americans.
25          11.     The TikTok Software gathers device and browser information,
26    geographic information, referral tracking, and URL tracking by running code or
27    “scripts” on the Website to send user details to TikTok.
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 1          12.    The TikTok Software begins to collect information the moment a user
 2    lands on the Website, including Plaintiff’s information.
 3          13.    Additionally, since Alex and Ani has decided to use TikTok’s “Auto
 4    Advanced Matching” technology, TikTok scans every website for information, such
 5    as name, date of birth, and address, the information is sent simultaneously to TikTok,
 6    so that TikTok can isolate with certainty the individual to be targeted.
 7          14.    The TikTok Software runs on virtually every page of Alex and Ani’s
 8    website, sending to TikTok images of every website user’s interest in Defendant’s
 9    services.
10          15.    The Alex and Ani website instantly sends communications to TikTok
11    whenever a user lands on the website and every time a user clicks on a page. In the
12    example below, the right side of the image shows the various TikTok scripts being
13    run by Defendant, and the electronic impulses being sent to TikTok to add to their
14    collection of user behavior.
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            16.    CIPA defines a “trap and trace device” as “a device or process that
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      captures the incoming electronic or other impulses that identify the originating
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 1    number or other dialing, routing, addressing, or signaling information reasonably
 2    likely to identify the source of a wire or electronic communication, but not the
 3    contents of a communication.” Cal. Penal Code § 638.50(c).
 4          17.    The TikTok Software is a process to identify the source of electronic
 5    communication by capturing incoming electronic impulses and identifying dialing,
 6    routing, addressing, and signaling information generated by users, who are never
 7    informed that the website is collaborating with the Chinese government to obtain
 8    their phone number and other identifying information.
 9          18.    The TikTok Software is “reasonably likely” to identify the source of
10    incoming electronic impulses. In fact, it is designed solely to meet this objective.
11          19.    Defendant did not obtain a court order before installing the TikTok
12    Software on its Website.
13          20.    Defendant did not obtain Class Members’ express or implied consent
14    to be subjected to data sharing with TikTok for the purposes of fingerprinting and
15    de-anonymization.
16          21.    The California Invasion of Privacy Act (“CIPA”), California Penal
17    Code § 630 et. seq., imposes civil liability and provides for statutory damages for
18    the installation of trap and trace software without a court order. Id. §§ 637.2, 638.51;
19    see Moody v. C2 Educ. Sys. Inc., No. 2:24-CV-04249-RGK-SK, 2024 WL 3561367
20    (C.D. Cal. July 25, 2024) (holding that TikTok Software was properly alleged to be
21    a trap and trace device because it communicates over the internet and the statutory
22    definition of a trap and trace device expressly covers “wire communication” and
23    “electronic communication” and is not limited to telephone lines).
24          22.    Plaintiff and the Class Members did not give express or implied consent
25    to be subjected to data sharing with TikTok for the purposes of fingerprinting and
26    de-anonymization.
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 1                                   CLASS ALLEGATIONS
 2          23.    Plaintiff brings this action individually and on behalf of all others
 3    similarly situation (the “Class”) defined as follows:
 4                 All persons within California whose identifying information
 5                 was sent to TikTok as a result of visiting the Website within
 6                 the limitations period.
 7          24.    NUMEROSITY: Plaintiff does not know the number of Class Members
 8    but believes the number to be in the thousands, if not more. The exact identities of
 9    Class Members may be ascertained by the records maintained by Defendant.
10          25.    COMMONALITY: Common questions of fact and law exist as to all
11    Class Members and predominate over any questions affecting only individual
12    members of the Class. Such common legal and factual questions, which do not vary
13    between Class members, and which may be determined without reference to the
14    individual circumstances of any Class Member, include but are not limited to the
15    following:
16                     a. Whether Defendant installed the TikTok Software on the
17                        Website;
18                     b. Whether Defendant the TikTok Software is a trap and trace
19                        process as defined by California law;
20                     c. Whether Plaintiff and Class Members are entitled to statutory
21                        damages;
22                     d. Whether Class Members are entitled to injunctive relief; and
23                     e. Whether Class Members are entitled to disgorgement of
24                        unlawfully obtained data.
25          26.    TYPICALITY: As a person who visited Defendant’s Website and
26    whose personal information was fingerprinted and de-anonymized by TikTok,
27    Plaintiff is asserting claims that are typical of the Class.
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 1          27.      ADEQUACY: Plaintiff will fairly and adequately protect the interests
 2    of the members of The Class. Plaintiff has retained attorneys experienced in the class
 3    action litigation. All individuals with interests that are actually or potentially adverse
 4    to or in conflict with the class or whose inclusion would otherwise be improper are
 5    excluded.
 6          28.      SUPERIORITY: A class action is superior to other available methods
 7    of adjudication because individual litigation of the claims of each Class Member is
 8    impracticable and inefficient. Even if every Class Member could afford individual
 9    litigation, the court system could not. It would be unduly burdensome to the courts
10    in which individual litigation of numerous cases would proceed and address identical
11    issues.
12                                FIRST CAUSE OF ACTION
13                        Violations of California Trap and Trace Law
14              Cal. Penal Code § 638.51 (the “California Trap and Trace Law”)
15          29.      Plaintiff repeats and re-alleges the allegations contained in every
16    preceding paragraph as if fully set forth herein.
17          30.      The California Trap and Trace Law provides that “a person may not
18    install or use…a trap and trace device without first obtaining a court order….” Cal.
19    Penal Code § 638.51(a).
20          31.      A “trap and trace device” is defined as “a device or process that captures
21    the incoming electronic or other impulses that identify the originating number or
22    other dialing, routing, addressing, or signaling information reasonably likely to
23    identify the source of a wire or electronic communication, but not the contents of a
24    communication.” Id. § 638.50(c).
25          32.      Defendant uses a trap and trace process by deploying the TikTok
26    Software on its Website because the TikTok Software is designed to capture the
27    phone number, email, routing, addressing and other signaling information of website
28    visitors. As such, the TikTok Software is designed precisely to identify the source
                                            COMPLAINT
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 1    of the incoming electronic and wire communications to the Website in violation of
 2    the California Trap and Trace Law.
 3          33.      Defendant did not obtain a court order before installing the TikTok
 4    Software on the Website. Defendant also did not obtain consent from Plaintiff or any
 5    of the Class Members before using trap and trace technology to identify visitors of
 6    its Website.
 7          34.      CIPA imposes civil liability including statutory damages for violations
 8    of the California Trap and Trace Law. Cal. Penal Code § 637.2; see also C2 Educ.
 9    Sys. Inc., 2024 WL 3561367.
10                                           PRAYER
11          WHEREFORE, Plaintiff prays for the following relief against Defendant:
12          1.       An order certifying the Class, naming Plaintiff as the representative of
13          the Class and Plaintiff’s attorneys as Class Counsel;
14          2.       An order declaring Defendant’s conduct violates CIPA;
15          3.       An order of judgment in favor of Plaintiff and the Class against
16          Defendant on the cause of action asserted herein;
17          4.       An order enjoining Defendant’s conduct as alleged herein and any
18          other injunctive relief that the Court finds proper;
19          5.       Statutory damages pursuant to CIPA;
20          6.       Prejudgment interest;
21          7.       Reasonable attorneys’ fees and costs; and
22          8.       All other relief that would be just and proper as a matter of law or
23          equity, as determined by the Court.
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      DATED: January 27, 2025                          TAULER SMITH LLP
25
                                               By:     /s/ Robert Tauler
26
                                                       Robert Tauler, Esq.
27                                                     Attorney for Plaintiff
                                                       Milan Hassid
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 1                            DEMAND FOR JURY TRIAL
 2          Plaintiff Milan Hassid hereby demands a trial by jury.
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 4    DATED: January 27, 2025                       TAULER SMITH LLP
 5

 6                                          By:     /s/ Robert Tauler
                                                    Robert Tauler, Esq.
 7
                                                    Attorney for Plaintiff
 8                                                  Milan Hassid
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